Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 1 of 85
JS44. (Rev. 10/20) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
Joshua Lapin Nutrisystem, Inc.; Davison Design & Development, Inc.,;
Renown Holdinas. Inc.: John Doe Ad Network(s) 0-5
(b) County of Residence of First Listed Plaintiff Minnehaha County of Residence of First Listed Defendant [Wontaomery
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (Jf Known)
Pro se; 401 E 8th St Ste 214 PMB 7452, Sioux Falls, SD Ronald L. Hicks, Jr., Nelson Mullins Riley & Scarborough
57103; (605) 305-3463 LLP, 6 PPG PI Ste 700, Pgh., PA 15222; (412) 730-3092
II. BASIS OF JURISDICTION (Place an “Xx” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
C 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C] 1 CT 1 Incorporated or Principal Place OC 4 (4
of Business In This State
CI 2 U.S. Government [4 Diversity Citizen of Another State CT] 2 C] 2 Incorporated and Principal Place C 5 Ol 5
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a C 3 CT 3 Foreign Nation TC 6 O 6
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CL 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C 367 Health Care/ |_| 400 State Reapportionment
[] 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
H 151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability C 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
Oo 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR | 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits - 355 Motor Vehicle -| 371 Truth in Lending Act 485 Telephone Consumer
[| 190 Other Contract Product Liability [| 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
| 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) - 490 Cable/Sat TV
196 Franchise Injury CL 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability Lf 1 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | x} 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation [_] 865 RSI (405(g)) |_| 891 Agricultural Acts
| _}]210 Land Condemnation | | 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement {| 893 Environmental Matters
[ ] 220 Foreclosure | 441 Voting T | 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment -| 442 Employment | 510 Motions to Vacate L] 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations T | 530 General C] 871 IRS—Third Party | 899 Administrative Procedure
L] 290 All Other Real Property | 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
|] 446 Amer. w/Disabilities -[~] 540 Mandamus & Other 465 Other Immigration |_| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
Cl 1 Original 2 Removed from Cl 3. Remanded from oO 4 Reinstated or TC 5 Transferred from Cl 6 Multidistrict TC 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Controlling the Assault of Non-Solicited Pornography and Marketiung Act of 2003, 15 U.S.C. §§ 7701 et seq.

Brief description of cause:
Claims for unsolicited commercial email purportedly sent in violation of South Dakota and Florida anti-spam statutes

 

 

VI. CAUSE OF ACTION

 

 

 

 

VII. REQUESTED IN [_] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Llyes []No
VIII. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER

 

FOR OFFICE USE ONLY

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DATE eo RE ae IRNEY ‘ORD
April 7, 2023 at,
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 2 of 85

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSHUA LAPIN,
Plaintiff,

V.

 

DESIGN & DEVELOPMENT, INC.;
RENOWN HOLDINGS, INC.; and

)

)

)

)
NUTRISYSTEM, INC; DAVISON ) No.

.

JOHN DOE AD NETWORK(S) 0-5, )

)

)

)

Defendants. Document Filed Electronically

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Renown Holdings, Inc.
(“Renown”), by its undersigned counsel, hereby removes the above-captioned action from the
Court of Common Pleas of Philadelphia County, Pennsylvania, to the United States District Court
for the Eastern District of Pennsylvania. In support of this removal, Renown states as follows:

1. On March 20, 2023, Renown, through its undersigned counsel, received electronic
notice from the Office of Judicial Records for the Court of Common Pleas of Philadelphia County,
Pennsylvania (“State Court”), that Plaintiff Joshua Lapin (“Plaintiff”) filed a Complaint on March
19, 2023, which was reviewed and accepted on March 20, 2023, in Case No. 230200202. As part
of that electronic notice, a document styled “Notice to Defend” was included with the Complaint’s
filing. True and correct copies of the March 20, 2023, electronic notice, Complaint, and Notice to
Defend are attached collectively hereto as Exhibit “1.”

2, Prior to electronic notice of the filing of the Complaint and Notice to Defend,
Plaintiff attempted to serve Renown with a writ of summons issued on or about February 1, 2023.

However, Plaintiff never arranged to have that original process served upon Renown or any of the

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other originally named defendants (i.e., Nutrisystem, Inc. (“Nutrisystem”), and Davison Design &
Development, Inc. (“Davison”) by either deputized service as provided by Pennsylvania Rule of
Civil Procedure 400(d) or by a competent adult forwarding the process to the sheriff of the county
where service may be made, both of which are required by Pennsylvania Rule of Civil Procedure
400.1(a)(2). Instead, Plaintiff engaged an adult person who served the writ of summons upon on
employee or other representative of a company that leases space in the same building where
Renown’s office is located but who has no affiliation with or authority to accept service for
Renown. Accordingly, Plaintiff has not effectuated service of original process upon Renown. Nor
has Plaintiff filed, as required by Pennsylvania Rule of Civil Procedure 405, any proof of service
of the writ of summons upon Renown, Nutrisystem, and/or Davison, to the extent any such service
was accomplished.!

Ds Plaintiff's March 20, 2023 Complaint contains no certificate of service, and
Plaintiff has not filed any separate proof of service of that pleading upon either Renown or the
other named defendants which include not only Nutrisystem and Davison but also “John Doe Ad
Network(s) 0-5.” See 3/20/23 Compl.

4, “[C]omplaining being in receipt of unsolicited commercial emails[,] [alll of
[which] are alleged to have been sent by third parties not named in this suit; however, each of the
‘spams’ ... promoting the products and services of one of the instant defendants, ...” Plaintiff
seeks in his Complaint “statutory liquidated damages” under both the South Dakota Anti-Spam
Law, SDCL 37-24-41 — 37-24-48, and Florida Electronic Mail Communications Act, Fla. Stat. §§

668.660-668.610, for the allegedly “unsolicited commercial emails” that he purportedly received

 

' Renown does not concede that it has been properly served with the original process or other
papers in this matter. Instead, Renown expressly reserves its right to challenge the propriety of
service and to raise all other defenses and objections to Plaintiffs claim against Renown.

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in June and July 2021 at an email address of “ketosoup97@gmail.com” and which separately
contain marketing “graphics” of the products and services of Renown, Nutrisystem, and Davison.
See 3/20/23 Compl., fff 1, 3-5, 17, & Exs. A, C, & D.

Ss Moreover, although he prays for relief against “Defendants for their roles in this
Unsolicited Commercial Email complaint,” Plaintiff sets forth no prayer for relief against the John
Doe Ad Network(s) 0-5 Defendants. See 3/20/23 Compl., { 17. Instead, in addition to seeking the
“reasonable costs associated with filing and maintaining this action and for service of process,”
Plaintiffs Complaint seeks separate “statutory liquidated damages” against Renown, Nutrisystem,
and Davison as follows: $10,500 from Renown; $3,000 from Nutrisystem; and $22,500 from
Davison. Id.

6. In his Complaint, Plaintiff acknowledges that Renown, Nutrisystem, Davison, and
the John Doe Ad Network(s) 0-5 did not send or initiate any of the email messages in question.
See 3/20/23 Compl., {f 1 & 9. Instead, the named Defendants are alleged to have been “extreme[ly]
negligen[t] in an area of law that is regulated federally through the CAN-SPAM Act of 2003,” and
through state-level spam laws in at /east 36 states[.]” Jd. at 411. The Defendants’ alleged
negligence consists of their lack of knowledge of who actually sent the messages which, as Plaintiff
asserts, contain in their “from line” a “from domain” that “is registered with falsified and/or
misrepresented WHOIS data, calculated to impair the ability of the recipient to identify, locate, or
respond to the person who initiated the message.” Jd. at { 10. Together with the fact that the
sender’s identity is purportedly not made available from the domains themselves or in the body of

the purported spam messages, this allegedly falsified “from domain” data “forms the basis of

 

2 The full name of this federal legislation is the Controlling the Assault of Non-Solicited
Pornography and Marketing Act of 2003 which is codified at 15 U.S.C. §§ 7701 et seq.
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[Plaintiffs] allegation that all of the spams at issue have falsified or misrepresented headers, as is
relevant to the South Dakota cause of action at SDCL 37-24-47(2),° and the Floridian cause of
action at 668.603(1)(b).” Jd. at J¥ 10-16.
7. The CAN-SPAM Act contains an express preemption provision:

This chapter supersedes any statute, regulation, or rule of state law

.. that expressly regulates the use of electronic mail to send

commercial messages, except to the extent any such statute,

regulation, or rule prohibits falsity or deception in any portion of a

commercial electronic mail message or attached information
thereto.

15 U.S.C. § 7707(b)(1).

8. Courts have consistently held that this broad preemption clause “demonstrates
Congress’s intent that the CAN-SPAM Act broadly preempt state regulation of commercial
e- mail” and that the “falsity or deception” requirement, to fall outside of the preemption provision,
must rise to the level of common law fraud. Gordon v. Virtumundo, Inc., 575 F.3d 1040, 1061-64
(9th Cir. 2009) (CAN-Spam Act preempts claims under Washington’s Commercial Electronic
Mail Act regarding e-mails with header information that allegedly “misrepresent[ed] or obsur[ed]
the sender’s identity or other); Gordon v. BMG Columbia House, Inc., 459 Fed. Appx. 683, 684
(9th Cir. 2011) (same); Ferguson v. Active Response Group, 348 Fed. Appx. 255, 256 (9th Cir.

2009) (same); Omega World Travel, Inc. v. Mummagraphics, Inc., 469 F.3d 348, 358 (4th Cir.

 

3In Paragraph 15 of his Complaint, Plaintiff acknowledges that the United States District Court of
the District of South Dakota has ruled that he was not a resident of South Dakota in 2021 when he
purportedly received approximately 108 email messages containing graphics involving
EverQuote, Inc., and thus lacked standing to sue for purported violations of SDCL 37-24-47. See
3/20/23 Compl., J 15. Also, this Court can take judicial notice that Plaintiffs attempt to sue parties
that did not send alleged unsolicited commercial email but whose graphics appeared on those
messages for alleged violations of the South Dakota anti-spam law were rejected by the United
States District Court for the District of Idaho as failing to state a claim as a matter of law. See
Lapin v. Jones, Case No. 1:22-cv-00011-DCN, 2022 WL 10067514, 2022 U.S. Dist. LEXIS
189467, at *9-*10 (D. Id. Oct. 14, 2022).
5

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2006) (same for claims under Oklahoma law concerning emails allegedly containing technical
inaccuracies in the header information and being sent to recipients who opted out); Martin v. CCH,
Inc., 784 F. Supp. 2d 1000, 1006-8 (N.D. Ill. 2011) (CAN-SPAM Act preempts claims that email
subject lines allegedly contained misrepresentations and omissions and were misleading under the
Illinois Electronic Mail Act); Hafke v. Rossdale Grp., Case No. 1:11-CV-220, 2011 WL 4758768,
at *4 (W.D. Mich. Oct. 7, 2011) (CAN-SPAM act preempts claims that emails allegedly failed to
provide sender’s legal name and misrepresented information identifying the point of origin or
transmission path of the emails purportedly in violation of Michigan's Unsolicited Commercial E—
Mail Protection Act); Ferron y. Echostar Satellite, LLC, No. 2:06-cv—00453, 2008 WL 4377309
(S.D. Ohio Sept.24, 2008) (CAN-SPAM act preempts claims for emails alleged to violate the Ohio
Electronic Mail Advertisements Act because they failed to include a name, residential or business
address, or electronic address).

9. In his March 20, 2023, Complaint, Plaintiff does not assert any claim for common
law fraud concerning any of the alleged spam, including without limitation the seven email
messages involving Renown’s Yes Card marketing graphics. Instead, he asserts merely claims that
are no different from those which other courts have held to be completely preempted by the CAN-
SPAM Act. See infra, J 8.

10. Under the complete preemption doctrine, Plaintiffs action arises under the laws of
the United States. See, e.g., Aetna Health Inc. v. Davila, 542 U.S. 200, 207-8 (2004); Beneficial
Nat’! Bank v. Anderson, 539 U.S. 1, 8 (2003); Oneida Indian Nation v. County of Oneida, 414
U.S. 661, 667 (1974); Bastien v. AT&T Wireless Servs., 205 F.3d 983, 986-87 (7" Cir. 2000);

Gaming Corp. of Am. V. Dorsey & Whitney, 88 F.3d 536, 543 (8" Cir. 1996).

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11. Accordingly, this action is a civil action over which this Court has original
jurisdiction under 28 U.S.C. § 1331, and is one which may be removed to this Court pursuant to
the provisions of 28 U.S.C. § 1441(a), in that this Court has federal question jurisdiction under the
CAN-SPAM Act which expressly preempts Plaintiffs action. See Hafke, 2011 WL 4758768, at
*4,

12. This Notice is timely as it has been filed within thirty days of electronic service of
Plaintiff's March 20, 2023, Complaint. See 28 U.S.C. § 1446(b).

13. This Court is part of the “district and division embracing the place where” the
Plaintiffs state court action was filed. Accordingly, this Court is the correct location for removal.
See 28 U.S.C. § 1446(b).

14. Pursuant to 28 U.S.C. § 1446(a), copies “of all process, pleadings, and orders” in
Plaintiff's state court action are attached hereto as Exhibit 1. Renown has not answered or
otherwise responded to Plaintiff's March 20, 2023, Complaint.

15. The only other “process, pleadings, and orders” known to exist is the February 1,
2023 writ of summons (which Renown disputes has been properly served upon it) and the February
17, 2023 rule to file complaint. Copies of that writ of summons and rule to file complaint and
copies of the docket in Philadelphia Court of Common Pleas Case No. 230200202 as of April 7,
2023, are attached hereto, marked respectively as Exhibits 2, 3, and 4.

16. As his March 20, 2023, Complaint confirms, Plaintiff is not seeking any damages
against the John Doe Ad Network(s) 0-5 Defendants. Moreover, the claims that he has asserted
against Renown, Nutrisystem, and Davison are separate, distinct, and independent ones, in that
Renown has been sued for only the seven email messages involving its YesCard graphic,

Nutrisystem has been sued for only the two email messages involving its “Eat The Food Lose The

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Weight” graphic, and Davidson has been sued for only the fifteen email messages involving its
marketing graphics. See 3/20/23 Compl., { 17. Therefore, the unanimous consent of all Defendants
to this removal is not required. See DiLoreto v. Costigan, Nos. Civ.A. 08-989 & 08-990, 2008 WL
4072813, at *2 (E.D. Pa. Aug. 29, 2008) (“A removing defendant need not join a co-defendant ...
against whom only separate and independent ... claims are pending.”)

17. Further, as the state court docket reflects, no other Defendant has entered an
appearance in the matter, and it is unknown whether Plaintiff has effectuated service of the original
process or the Complaint and Notice to Defend upon the other Defendants. Indeed, the March 19,
2023 Complaint has no certificate of service attached to it. See 3/20/23 Compl. Accordingly, no
other consent to this removal is required. See DiLoreto, 2008 WL 4072813, at *2 (“A removing
defendant need not join a co-defendant who has not been served ...”).

18. Moreover, Plaintiff states in his Complaint that “Nutrisystem and Plaintiff are on
the brink of a confidential resolution of the portion of this complaint which involves Nutrisystem.”
See 3/20/23 Compl., 4. On April 4, 2023, Renown inquired of Plaintiff about the status of his
claims against Nutrisystem and the identity of the person with whom Plaintiff has been having
discussion, so that Renown could talk with Nutrisystem. Prior to the filing of this removal, Plaintiff
never responded to Renown’s inquiry. Therefore, Renown has no knowledge, in the exercise of
reasonable diligence, whether Nutrisystem has been served or remains a party to the Complaint;
such that its consent to this removal is not required. See DiLoreto, 2008 WL 4072813, at *2 (“A
removing defendant need not join a co-defendant who ... is merely a nominal party ....”); id.at *4
(“[A] defendant is required to obtain consent only from those codefendants who it knew or should
have known, in the exercise of reasonable diligence, had been served,” quoting Laurie v. Nat’l

R.R. Passenger Corp., No. Civ.A. 01-6145, 2001 WL 34377958, at *1 (E.D. Pa. Mar. 13, 2001)).

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19. Finally, through the exercise of reasonable diligence, Renown has been able to
speak with Mr. George Crompton, who serves as General Counsel for Davison. Like Renown,
Davison disputes that it has been properly served with either original process or the Complaint and
Notice to Defend filed on March 19, 2023 and accepted by the state court on March 20, 2023.
Nevertheless, Mr. Crompton has advised that to the extent required, Davison consents to the
removal of this action to this Court. Accordingly, affixed hereto following the signature of
Renown’s counsel is Mr. Crompton’s signature reflecting Davison’s consent to this removal.

20. | Acopy of this Notice of Removal is being filed with the Department of Judicial
Records for the Court of Common Pleas of Philadelphia County and is being served upon the
Plaintiff, consistent with 28 U.S.C. § 1446(a) and (d).

WHEREFORE, Renown respectfully removes this action to the United States District
Court for the Eastern District of Pennsylvania for further proceedings pursuant to this Notice.

Respectfully Submitted,
Dated: April 7, 2023 /s/ Ronald L. Hicks, Jr.

Ronald L. Hicks, Jr. (PA ID #49520)
ronald. hicks@nelsonmullins.com

 

NELSON MULLINS RILEY & SCARBOROUGH LLP
Six PPG Place, Suite 700

Pittsburgh, PA 15222

(412) 730-4050

Attorneys for Defendant
Renown Holdings, Inc.

Consented To:

Dated: April 7, 2023 /s/ George Henry Crompton
George Henry Crompton (PA ID 63201)
crompton.george@S5dsvs.com

 

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5D Services, LLC

585 Alpha Drive RIDC Park
Pittsburgh, PA 15238

(412) 785-0780

General Counsel
Davison Design & Development, Inc.

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Exhibit “1”

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Ronald Hicks

From: cp-efiling@courts.phila.gov

Sent: Monday, March 20, 2023 10:41 AM

To: Ronald Hicks

Subject: Notice of an E-Filing on Case #230200202

External Email» - From: cp-efiling@courts.phila.gov

 

Dear Ronald L. Hicks,

A legal paper has been filed electronically in connection with a
Trial Division - Civil case in which you are counsel of record for

a party, or you are an unrepresented party, and have consented to
be served electronically with any pleading (other than original
process) as provided in Pa.R.C.P. No. 205.4 and Philadelphia Civil
*Rule No. 205.4.

Filed as noted below. The following information is provided for
your records:

Caption:
LAPIN VS NUTRISYSTEM INC ETAL
Case Number: 230200202

Date Reviewed and Accepted:
March 20, 2023 10:40 am EDT/DST

Date Presented to the Office of Judicial Records for Filing
and Date Deemed Filed:

March 19, 2023 04:37 pm EDT/DST

Type of Pleading/Legal Paper:

COMPLAINT FILED NOTICE GIVEN

E-File No.: 2303042036

To retrieve the legal paper filed and any related notice, order or

legal paper, log in to the Electronic Filing Web Site at
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You may also go directly to the legal paper/document by copying and
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a separate document filed in connection with this matter. Utilizing the
link(s) below will only take you to the actual document. You will not

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Notice-to-Defend-10-284. pdf
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PA_Case_Original_Complaint_With_Exhibits_Signed.pdf
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Case 2:23-cv-01343-PD Documenti Filed 04/07/23

THANK YOU,
ERIC FEDER

DEPUTY COURT ADMINISTRATOR
DIRECTOR, OFFICE OF JUDICIAL RECORDS

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Joshua Lapin, Pro Se Plaintiff Office | af |

 
 

401 E 8" ST
STE 214 PMB 7452
Sioux Falls SD 57103

Email: thehebrewhammerjosh@gmail.com

 

Facsimile: (605) 305-3464
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

 

 

 

 

)
Joshua Lapin ) Case No.: 230200202

)
Plaintiff, )

) ORIGINAL COMPLAINT FOR DAMAGES

VS. )

Davison Design & Development Inc South Dakota Spam Law (SDCL 37-24-41)
Nfuttisystem Ine Florida Anti-Spam Law (§ 668.603)

)
Renown Holdings Inc )

)
John Doe Ad Network(s) 0-5 )

)

)

COMPLAINT

1. COMES NOW Plaintiff Joshua Lapin, pro se, complaining being in receipt of unsolicited
commercial emails. All of the emails are alleged to have been sent by third parties not named in
this suit; however, each of the “spams” were promoting the products and services of one of the
instant defendants, all of whom are hereinafter dubbed (“Advertisers”) as defined in South Dakota’s
spam law at SDCL 37-24-41(1), “’Advertiser,’" a person or entity that advertises through the use of
commercial e-mail advertisements.” Each advertiser is also alleged and considered to have
“assist[ed]in the transmission” of the spams which promote their products and services, whereas the
quoted phrase adopts the definition in the Florida Electronic Mail Communications Act, as codified

in 668.602(2), “Assist in the transmission” means to provide substantial assistance or support that

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COMPLAINT
Doc ID: 83577e5ba1630d401fa74ec0779f50d40ac]

 

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enables a person to formulate, compose, send, originate, initiate, or transmit a commercial
electronic mail message when the person providing the assistance knows or has reason to know that
the initiator of the commercial electronic mail message is engaged in or intends to engage ina

practice that violates this chapter.”

PARTIES

2. Plaintiff Joshua Lapin is and was at all times material a citizen of the United States and a
resident of South Dakota. At the times of the receipt of this spam, he was traveling the world as a
“digital nomad,” moving from state to state, then country to country, in 30 day cycles. He has since
returned to South Dakota in January of 2023.

3. Renown Holdings Inc “Renown,” as best known to plaintiff, is and was at all times material a
corporation formed under the laws of Pennsylvania with its principal place of business in
Uniontown, PA. Upon information and belief, it offers sub-prime credit cards to those with less
than stellar credit (which admittedly includes the instant plaintiff). Renown stands accused of
“Advertising” and “assist[ing]in the transmission” of 7 spams which promote its “Yes Card”
product, an example of which is attached hereto as Exhibit A. Renown Holdings Inc is alleged to
transact business throughout Pennsylvania, including Philadelphia County, as it targets consumers
through both lawful and unlawful means on a nationwide basis.

4. Nutrisystem Inc “Nutrisystem,” as best known to plaintiff, is and was at all times material a
corporation formed under the laws of Delaware with its principal place of business in Fort
Washington, Pennsylvania. However, it has apparently been acquired and/or sold multiple times in
recent history, and a google search for “Nutrisystem Headquarters” reveals Philadelphia in big font
(Exhibit B), and this served as plaintiffs basis for venuing this action. It has been brought to my
attention that Nutrisystem is actually principled in Fort Washington, PA. Nonetheless, upon
information and belief, Nutrisystem and Plaintiff are on the brink of a confidential resolution of the
portion of this complaint which involves Nutrisystem, Notwithstanding the above, in conjunction

with the fact that today is the final day for plaintiff to file a complaint pursuant to the Praecipe For

2 Case ID: 2302

COMPLAINT

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a Rule To File a Complaint, plaintiff is filing the complaint in the already-filed case, and will reach
out to council for the remaining two defendants shortly, in an attempt to stipulate to an agreeable
venue, ideally without engaging in needless motions practice and respecting judicial economy. In
any event, Nutrisystem appears to have at least five stores in Philadelphia, therefore transacts
business in Philadelphia, and venue is proper (albeit not “rock solid’) on this basis alone.
Nutrisystem is accused of “Advertising” and “assist[ing]in the transmission” in 2 spams which
promote its products and services, an example of which is attached as Exhibit C.

5. Davison Design and Development Inc “Davison,” as best known to plaintiff, is and was at all
times material a corporation formed under the laws of Pennsylvania with its principal place of
business in Pittsburgh. It stands accused of “advertising” and “assist[ing]in the transmission” of 15
spams which promote its “invention help” services, as poorly summarized by the plaintiff. An
examples of these are attached as Exhibit D.

6. John Doe Ad Network(s) 0-5 are intermediar(ies) alleged to have contracted with the non-doe
defendants in order to help them promote their products and services. However, John Doe Ad
Network(s) 0-5 are not alleged to have sent any of the spams themselves, rather, they are alleged to
turn around to their publisher(s) who, in turn, promote the “creative materials” from the companies
who have something to sell, to the benefit of everyone “in the chain.” Therefore, the actual sender
would be a third party of John Doe Ad Network(s) 0-5, and a fourth party of the named, non-doe

defendants.

FACTS

7. Each of the spams are alleged to advertise the products/services of one of the named defendants.
8. The attached exhibits, save exhibit B, are true and correct preservations of those spams.

9. The named defendants are NOT alleged to have “sent,” or “initiated” any of the spams
themselves. Rather, they are alleged to have contracted with one or more of the John Doe Ad

Network(s) 0-5, whose publisher actually sent the spams.

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10. The ‘from domain’ in the from line is registered with falsified and/or misrepresented WHOIS
data, calculated to impair the ability of the recipient to identify, locate, or respond to the person who
initiated the message. Nor is the sender’s identity made available from the domain names
themselves or in the body of the spams; this forms the basis of the allegation that all of the spams at
issue have falsified or misrepresented headers, as-is relevant to the South Dakotan cause of action at

SDCL 37-24-47(2), and the Floridian cause of action at 668.603(1)(b).

11. The spams at issue were sent ‘from a computer located in this state [Florida]’ because the
sender registered the ‘from domains’ at Ft. Lauderdale, Florida based domain registrar “Moniker
Online Services LLC”, “Moniker,” and utilized Florida-based Moniker’s DNS Servers and hosting
services for the domains from which the spams were sent. This forms the basis for the relevance of
Florida’s spam law to the Pennsylvanian defendants. See 668.603(1), as well as the definition (and
allegation) of “assist in transmission” as defined in 668.602(2). As to the latter, the named non-doe
defendants assisted in transmission of these spams by “...provid[ing] substantial assistance or
support that enables a person to formulate, compose, send, originate, initiate, or transmit a
commercial electronic mail message when the person providing the assistance knows or has reason
to know that the initiator of the commercial electronic mail message is engaged in or intends to
engage in a practice that violates this chapter.” 668.602(2). The non-doe defendants are accused of
knowingly providing their marketing “graphics” to third party John-Doe Ad Network(s), with the
full knowledge and contractual expectation that an unknown-to-them fourth party “publisher”
would send the spams. As the non-Doe Defendants appear to have no idea who the fourth party is,
they can be alleged to have relinquish(ed) any/all control over the headers of the spams, nor have
any knowledge of the identity of the sender through an apparent “double-blind” system. In fact, the

named defendants seem to be struggling to identify the third party [John Doe Ad Network(s) ], as

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they have been called upon to do in the pre-complaint discovery served alongside the writ, much
less the fourth party who actually sent the spams. Renown even admits the same in its
“OBJECTIONS AND ANSWERS TO PRE-COMPLAINT DISCOVERY DIRECTED TO
RENOWN HOLDINGS, INC.” This level of extreme negligence in an area of law that is regulated
federally through the CAN-SPAM Act of 2003, and through state-level spam laws in at least 36
states, amounts to willful misconduct. See also 668.601 — Legislative Intent - This part is intended
to promote the integrity of electronic commerce and shall be construed liberally in order to protect
the public and legitimate businesses from deceptive and unsolicited commercial electronic mail. In
combination with the imposition of liability onto those who “assist in transmission” by formulating,
composing, and originating spams, AND the imposition of liability onto those who spam Florida
residents AND those who spam [others] from a computer located in Florida, it is all-the-more-clear
that the FL legislature intended to impose liability onto those who spam, or conspire to spam (the

whole world), from Floridian computer systems.

12. While the ‘from domains’ were registered from a Floridian domain registrar, and the DNS
Servers and e-mail services of those domains are also Floridian, it is also alleged that the actual
sender of these spams transmitted them through the use-and-abuse of the following two email

marketing platforms:

A: Aurea Email Marketing: Lyris Inc and its parent company Aurea Inc (“Aurea”)

B: Keap: Infusion Software, Inc dba Keap (“Keap”’).

13. The sender funneled the Floridian domains through account(s) that they made at these

platforms, who then transmitted the spams onto the recipients. Those email marketing platforms

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have strict, clear, anti-spam policies in their terms of service agreements, to which they must have
agreed. For Aurea, this is called the “Terms of Use.” For Keap, this is called the Acceptable Use

Policy (AUP).

The Keap Acceptable Use Policy contains all of the following terms which were violated:

A) All email lists used in conjunction with the services provided by Us are required to be 100%
solicited (opt-in) lists...

B) Bartering, purchasing or renting lists of names and sending e-mails to those people is strictly
prohibited, and marketing lists containing email addresses cannot be shared/duplicated/transferred
between Our individual applications.

C) You may not use the Services to, nor allow its users or

any third-party to use the Service to: Generate or facilitate unsolicited commercial email

(spam), including without limitation: sending communications or email in violation of the CAN-
SPAM Act or any other applicable anti-spam law or regulation; sending unauthorized mail via open,
third-party servers; sending email to users who have requested to be removed from a mailing list;
marketing to any lists whose recipients did not express explicit consent to receive such marketing
material; selling to, exchanging with, sharing with or distributing to a third party personal
information, including the email addresses of any person without such person's knowing

and continued consent to such disclosure; or sending unsolicited emails to significant numbers of
email addresses belonging to individuals and/or entities with whom you have no preexisting
relationship...[inter alia]...Create a false identity for the purpose of misleading others, impersonate
another person, entity or Us (via the use of an email addressor otherwise) or otherwise misrepresent
the source of any communication. ...[inter alia]...Generate or facilitate any communications

(including without limitation, SMS, MMS, or other text messages, calls, faxes, or push

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notifications) in violation of the Telephone Consumer Protection Act, the Do-Not-Call
Implementation Act, or any other applicable law including anti-spam, telemarketing or telephone
consumer protection laws or regulations. Violate any applicable policy, terms of use, or agreement
with Us, including without limitation, Our Terms of Use, the Click to Call / Click to Text Beta
Service Terms of Use, and DMCA Policy, as may be updated or amended from time to time; or

Violate any other applicable laws or regulations.

D) You may not, and may not allow any third-party, including Your users, to use the Services to
display, store, process or transmit, or permit use of Services to display, store, process or transmit
(collectively the "Prohibited Material"): Material that infringes or misappropriates, or uses without

appropriate consent, a third party's intellectual property or proprietary rights;...[inter alia]...

As to Aurea, its Terms of Use Agreement contains the following provisions which were violated:

A) Customer may not use the Services to send unsolicited

email, whether it be commercial or non-commercial, and/or commercial email containing any

deceptive, unsubstantiated, or unfair marketing claim (collectively, “Spam’”).

B) Customer’s email will be considered unsolicited if Customer’s membership addresses are not
100% opt-in by Customer’s members. If Customer’s email addresses came from harvesting, a
purchased email list, another mailing list (even with the approval of t he ot her list owner or Service
Provider), or are compiled by any method other than by direct subscription from Customer’s
members, then all messages sent to such addresses will be considered Spam under these Terms of

Use.

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C) Customer’s email will be considered Spam if it: (i) contains one or more deceptive or
unsubstantiated claims regarding products or services; and/or (ii) furthers, constitutes, or consists of
an unfair business practice.

D) [Under “Other Unacceptable Uses”’] “Send email with an invalid “From:” or “Reply-to:”
address. All messages posted to Customer’s list must contain valid email addresses that accurately
reflect the sender’s identity.”

E) Transmit any unlawful, harmful, threatening, abusive, harassing, defamatory, vulgar, obscene, or
hateful content or content that is racially, ethnically, or otherwise objectionable, or that infringes

upon the rights of any third party [Paragraphs 8-12], as determined by Service Provider.

F) Impersonate any person, including, but not limited to, an official of Service Provider or an
information provider, or communicate under a false name or a name t hat Customer is not entitled
or authorized to use.

G) Intentionally or unintentionally violate any applicable local, state, national, or international law,
including, but not limited to, any regulations having t he force of law.

H) Customer agrees to use the Services only for lawful purposes.

The sender disregarded these conditions and funneled the Floridian domain names through their
account(s) at these two marketing platforms, such that the ‘from line’ would consist of those
Floridian domain names, and the recipients would be rendered helpless to identify who is sending
them unlawful spams with misrepresented headers. Each spam’s call to action contains a “clickable
link,” which is a URL owned by one of the email marketing platforms of Aurea or Keap. For Keap,
it looks something like this: https://fk934.infusion-

links.com/api/v1/click/4967282494537728/46044399 12906752.

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For Aurea, it looks something like this:
http://www.uptilt.com/c.html?ufl=7 &rtr=on&s=Imzp,2r8uz,5mve,2j59,5fbx abrp,iyxi& EMAIL A

DDRESS=ketosoup97@gmail.com.

 

14. Since these spams were transmitted through these platforms in violation of their terms of
service and acceptable use agreements, and those platforms expressly forbid the use of their services
(which includes but is not limited to their “clickable link” domains) in this manner, this forms the
basis for the allegation that the non-doe defendants “advertised in a commercial e-mail
advertisement...sent to a South Dakota electronic mail address...[which]...contains or is
accompanied by a third-party's domain name without the permission of the third party,” as-is

relevant to the allegation of SDCL 37-24-37(1) and Florida’s 668.603(1)(a).

15. Plaintiff's email address is and was at all times material a “South Dakota electronic mail
address” for the purposes of the South Dakotan cause of action because plaintiff Joshua Lapin is
and was at all times material a legal resident of the state of South Dakota for the purposes of SDCL
37-24-41(14)(C). Plaintiff feels obligated to disclose that a Federal Judge in South Dakota, AFTER
plaintiff filed the writ of execution but prior to the filing of this complaint, did find him to be not a
resident for the purposes of SDCL 37-24-41(14)(C), in Lapin v. EverQuote Inc., 4:22-CV-04058-
KES (D.S.D. Feb. 17, 2023), Dkt. 23. However, the judge in that case did not have the knowledge
that I returned to South Dakota five weeks prior to her issuing this ruling, and plaintiff is finalizing
a strong motion to reconsider the dismissal under FRCP 59(e), in which he expects to reverse the

66.

dismissal. Separately, this court is not bound to the South Dakota Federal Court’s “prediction” of
the South Dakota Supreme Court handling of plaintiffs standing for the purposes of SDCL 37-24-

41(14)(C), and is free to reach a contrary conclusion. Finally on this matter, the Floridian cause of

action is not dependent on the residency of the recipient, and stands independently of the South

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Dakotan cause-of-action; the same discovery against the same defendants remains necessary in

order to best-state a claim, rendering the pending discovery necessary regardless.

16. In summary of the allegations against the non-doe defendants:

“Advertised” in, and “Assist[ed] In [The] Transmission” of Unsolicited Commercial Emails that
were sent from a computer located in Florida AND to a “South Dakota Electronic Mail Address”

which:

A) had falsified and/or misrepresented headers for the purposes of the South Dakotan cause of

action at SDCL 37-24-47(2), and the Floridian cause of action at 668.603(1)(b).

B) were accompanied by a third party’s domain name without the permission of the third party for
the purposes of the South Dakotan cause of action at SDCL 37-24-37(1) and Florida’s

668.603(1)(a).

PRAYER FOR RELIEF

17. Plaintiff prays that the court grant relief against Defendants for their roles in this Unsolicited
Commercial Email complaint, as described throughout this complaint, by entering judgment as

follows:

Renown Holdings Inc: $1000 statutory liquidated damages pursuant to 37-24-48(2), X 7 separate
unsolicited commercial emails = $7,000. $500 statutory liquidated damages pursuant to

668.606(3)(b) X 7 unsolicited commercial emails = $3,500. In total: $10,500. Further, pursuant to

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both causes of action, plaintiff seeks the reasonable costs associated with filing and maintaining this

action, and for service of process.

Nutrisystem Inc: $1000 statutory liquidated damages pursuant to 37-24-48(2), X 2 separate
unsolicited commercial emails = $2,000. $500 statutory liquidated damages pursuant to
668.606(3)(b) X 2 unsolicited commercial emails = $1,000. In total: $3,000. Further, pursuant to
both causes of action, plaintiff seeks the reasonable costs associated with filing and maintaining this

action, and for service of process.

Davison Design & Development Inc: $1000 statutory liquidated damages pursuant to 37-24-48(2),
X 15 separate unsolicited commercial emails = $15,000. $500 statutory liquidated damages
pursuant to 668.606(3)(b) X 15 unsolicited commercial emails = $7,500. In total: $22,500 Further,
pursuant to both causes of action, plaintiff seeks the reasonable costs associated with filing and
maintaining this action, and for service of process.

Note: Recovery under both statutes is permissible due to the “cumulative” remedies clause 668.610.
18. Jurisdiction is proper in the Pennsylvanian Court of Common Pleas because all non-doe

defendants are incorporated and/or principled in the Commonwealth of Pennsylvania.

19. Venue was thought to be proper because plaintiff operated on the google-able information that
Nutrisystem was principled in Philadelphia, not Fort Worth. However, all defendants are alleged to
transact business in Philadelphia County, and plaintiff intends to stipulate with the remaining
defendants an agreeable venue, in the event that Philadelphia is found to be improper. Ref § 4.
Joshua Lapin, pro se plaintiff

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Doc ID: 83577e5ba1630d401fa74ec0779f50d40ac78857
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Subject: Your approval is guaranteed

From: Yes Card <newsletter@rumorfox.com>

To: Joshua Lapin <ketosoup97@gmail.com>

Date Sent: Tuesday, July 6, 2021 6:25:47 AM GMT+03:00
Date Received: Tuesday, July 6, 2021 6:36:38 AM GMT+03:00

 

If you have trouble viewing this message please click here.

YesCard |

    

$1 100
CREDIT LINE

All Credit Types

whk

No Interest
on Purchases

an, GETSTARTED NOW

Secure Application

 

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To stop receiving messages, please visit here or send request to:
Yes Card Services
PO Box 757, Hopwood, PA 15445

This email is intended for ketosoup97@gmail.com.

Update your preferences or Unsubscribe

Case ID: 230200202

Doc ID: 83577e5ba1630d401fa74ec0779f50d40ac78857
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Subject: No credit check, guaranteed approval

From: Yes Card <info@jobsdeliver.com>

To: ketosoup97 @gmail.com

Date Sent: Saturday, June 26, 2021 3:33:20 PM GMT+03:00
Date Received: Saturday, June 26, 2021 3:33:21 PM GMT+03:00

 

To stop receiving messages, please visit here or send request to:
Yes Card Services
POBox757HopwoodPA15445

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Plan Your Future Co PO Box 4668#85919 #85919 New York, New York 10163-4668 United
States

Case ID: 230200202

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Subject: Guaranteed $1000 credit line

From: Yes Card <info@jobsdeliver.com>

To: ketosoup97@gmail.com

Date Sent: Tuesday, July 13, 2021 9:32:06 PM GMT+03:00
Date Received: Tuesday, July 13, 2021 9:32:09 PM GMT+03:00

 

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YesCardServices
POBox75HopwoodPA15445

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States

Case ID: 230200202

Doc ID: 83577e5ba1630d401fa74ec0779f50d40ac78857
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Subject: Instant Approval

From: Yes Card <info@jobsdeliver.com>

To: ketosoup97@gmail.com

Date Sent: Friday, July 9, 2021 4:32:06 PM GMT+03:00
Date Received: Friday, July 9, 2021 4:32:22 PM GMT+03:00

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POBox757HopwoodPA15445

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Case ID: 230200202

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Subject: No credit check, guaranteed approval

From: Yes Card <info@jobsdeliver.com>

To: ketosoup97@gmail.com

Date Sent: Saturday, July 24, 2021 1:34:45 AM GMT+03:00
Date Received: Saturday, July 24, 2021 1:34:47 AM GMT+03:00

 

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YesCardServices
POBox757HopwoodPA15445

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Case ID: 230200202

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Subject: Guaranteed $1000 credit line

From: Yes Card Services <info@jobsdeliver.com>

To: ketosoup97@gmail.com

Date Sent: Monday, July 19, 2021 11:34:11 PM GMT+03:00
Date Received: Monday, July 19, 2021 11:34:13 PM GMT+03:00

 

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YesCardServices
POBox757HopwoodPA15445

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States

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Subject: Instant approval $1000 credit line

From: Yes Card Services <info@jobsdeliver.com>

To: ketosoup97@gmail.com

Date Sent: Wednesday, July 28, 2021 1:31:55 AM GMT+03:00
Date Received: Wednesday, July 28, 2021 1:31:57 AM GMT+03:00

 

To stop receiving messages, please visit here or send request to:
Yes Card Services
PO Box 757, Hopwood, PA 15445

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York D.C. Jersey City in Pennsylvania
Feedback

Philadelphia, Pennsylvania's largest city, is notable for its ric

on display at the Liberty Bell, Independence Hall (where the

People alsoask : Declaration of Independence and Constitution were signed)
other American Revolutionary sites. Also iconic are the step

Where is Nutrisystem located? Philadelphia Museum of Art, immortalized by Sylvester Stall

triumphant run in the film "Rocky." — Google

Who is the CEO of Nutrisystem?
Founded: October 27, 1682

Did Nutrisystem CEO get fired? Age: 340 years

Population: 1.576 million (2021)
How do I speak to someone at Nutrisystem?
Unemployment rate: 4.8% (Nov 2022)
Feedback
Metro population: 6,245,051 (US: 7th)

Mayor: Jim Kenney

Winmo ° ° ;
https://www.winmo.com > health-care > fort-washington Weather: 51°F (11°C), Wind NW at 13 mph (21 km/h), 39% H

NutriSystem, Inc. Corporate Profile | Brands, Media Spend ...
Founded in 1972 and headquartered in Horsham, PA, Nutrisystem, Inc. is a weight loss

management and services company. Specifically, NutriSystem offers ...

Address: 600 Office Center Drive; Fort Washin... | Main Phone: (215) 706-5300
Direct Phone: *** ##** #%* ext: ****

More on weather.com
Local time: Thursday 2:30PM

Area codes: Area code 267, Area code 445, Area code 215

9 headquarterlocation.com
https://headquarterlocation.com >...» Fort Washington

Nutrisystem Headquarters & Corporate Office

Nutrisystem is a commercial provider of weight loss products and services ...
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https://corporateofficeheadquarters.org » nutrisystem

Nutrisystem Corporate Office Headquarters - Phone Number ...

Nutrisystem Headquarters Address and Contact. Address: 1218 Chestnut St, Philadelphia, PA
19107, USA. Phone Number: +1 215-309-1747. Fax Number: N/A.

B Bloomberg
https://www.bloomberg.com >» company>NTRI:US

Nutrisystem Inc - Company Profile and News - Bloomberg.com

Nutrisystem Inc ; SUB-INDUSTRY. Consumer Services ; INCORPORATED. 08/17/1999 ; ADDRESS.
1100 Virginia Dr Suite 175 Fort Washington, PA 19034 United States ; WEBSITE.

ADDRESS: 1100 Virginia Dr Suite 175 Fort W... INDUSTRY: Consumer Discretionary Services
SUB-INDUSTRY: Consumer Services SECTOR: Consumer Discretionary

Case ID: 230200202

https://www.google.com/search?q=nutrisystem +headquarters&oq=nutrisystem+headquarters&aqs=chrome.0.0i512j0i20i263i512j... 1/2
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Case ID: 230200202

Doc ID: 83577e5ba1630d401fa74ec0779f50d40ac78857
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 36 of 85

Subject: Jumpstart your weight loss and healthy Lifestyle
From: Nutrisystem Discount <info@jobsharknl.com>

To: ketosoup97@gmail.com

Date Sent: Tuesday, July 6, 2021 11:45:43 AM GMT+03:00
Date Received: Tuesday, July 6, 2021 11:45:45 AM GMT+03:00

 

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Subject: Jumpstart your weight loss and healthy lifestyle

From: Nutrisystem Discount <delivered@emails-jobsdelivered.com>
To: ketosoup97@gmail.com

Date Sent: Thursday, July 8, 2021 6:18:57 AM GMT+03:00

Date Received: Thursday, July 8, 2021 6:19:00 AM GMT+03:00

 

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Case ID: 230200202

Doc ID: 83577e5ba1630d401fa74ec0779f50d40ac78857
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 39 of 85

Subject: Ideas & Inventions Wanted

From: Davison <newsletter@rumorfox.com>

To: Joshua Lapin <ketosoup97@gmail.com>

Date Sent: Thursday, July 8, 2021 5:55:44 AM GMT+03:00
Date Received: Thursday, July 8, 2021 6:04:11 AM GMT+03:00

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Subject: Don't wait to create, make your ideas reality

From: Davison <delivered@emails-jobsdelivered.com>

To: ketosoup97@gmail.com

Date Sent: Monday, July 12, 2021 3:53:24 AM GMT+03:00
Date Received: Monday, July 12, 2021 3:53:26 AM GMT+03:00

 

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Subject: Have An Invention Or Product Idea?

From: Davison <updates@expectcarecare.com>

To: ketosoup97@gmail.com

Date Sent: Monday, June 14, 2021 5:10:22 AM GMT+03:00
Date Received: Monday, June 14, 2021 5:18:49 AM GMT+03:00

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Subject: Trying To Make Money With An Invention Idea?

From: Davison <updates@expectcarecare.com>

To: ketosoup97@gmail.com

Date Sent: Thursday, June 17, 2021 1:05:49 PM GMT+03:00
Date Received: Thursday, June 17, 2021 1:14:39 PM GMT+03:00

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team is ready to research, build and present your idea to
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of the way. Our patience and trust in Davison was worth the time."

— Louisa and Gina

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Subject: Don't Just Think About You Invention Idea - Make It A Reality.
From: Davison <contact@nationalshoppersurvey.com>

To: ketosoup97@gmail.com
Date Sent: Sunday, June 13, 2021 9:27:08 AM GMT+03:00
Date Received: Sunday, June 13, 2021 9:27:38 AM GMT+03:00

 

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Subject: New Product Ideas Wanted

From: Davison <contact@nationalshoppersurvey.com>

To: ketosoup97@gmail.com

Date Sent: Monday, June 28, 2021 5:17:59 AM GMT+03:00
Date Received: Monday, June 28, 2021 5:19:29 AM GMT+03:00

 

 

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Subject: We challenge you to pursue your idea.

From: Davison <info@jobsharknl.com>

To: ketosoup97@gmail.com

Date Sent: Sunday, July 11, 2021 1:28:05 AM GMT+03:00
Date Received: Sunday, July 11, 2021 1:28:07 AM GMT+03:00

 

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Subject: We challenge you to pursue your idea.

From: Davison <info@jobsharknl.com>

To: ketosoup97@gmail.com

Date Sent: Tuesday, July 6, 2021 1:17:05 AM GMT+03:00
Date Received: Tuesday, July 6, 2021 1:17:07 AM GMT+03:00

 

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Subject: Don't wait to create, make your ideas reality

From: Davison <delivered@emails-jobsdelivered.com>

To: ketosoup97@gmail.com

Date Sent: Tuesday, July 6, 2021 12:18:25 PM GMT+03:00
Date Received: Tuesday, July 6, 2021 12:48:27 PM GMT+03:00

 

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Subject: Don't wait to create, make your ideas reality

From: Davison <delivered@emails-jobsdelivered.com>

To: ketosoup97@gmail.com

Date Sent: Friday, July 2, 2021 2:19:24 AM GMT+03:00
Date Received: Friday, July 2, 2021 2:19:26 AM GMT+03:00

 

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Subject: Don't wait to create, make your ideas reality

From: Davison <delivered@emails-jobsdelivered.com>

To: ketosoup97@gmail.com

Date Sent: Thursday, July 22, 2021 10:22:32 PM GMT+03:00
Date Received: Thursday, July 22, 2021 10:22:34 PM GMT+03:00

 

 

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Subject: Ideas & Inventions Wanted

From: Davison <contact@entirelybelieve.com>

To: ketosoup97@gmail.com

Date Sent: Tuesday, June 29, 2021 11:41:37 PM GMT+03:00
Date Received: Tuesday, June 29, 2021 11:41:52 PM GMT+03:00

 

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Subject: Ideas & Inventions Wanted

From: Davison <newsletter@rumorfox.com>

To: Joshua Lapin <ketosoup97@gmail.com>

Date Sent: Sunday, June 20, 2021 4:07:04 AM GMT+03:00
Date Received: Sunday, June 20, 2021 4:18:53 AM GMT+03:00

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Subject: Ideas & Inventions Wanted

From: Davison <newsletter@rumorfox.com>

To: Joshua Lapin <ketosoup97@gmail.com>

Date Sent: Friday, June 25, 2021 5:25:24 AM GMT+03:00
Date Received: Friday, June 25, 2021 5:40:09 AM GMT+03:00

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Update your preferences or Unsubscribe

Case ID: 230200202

Doc ID: 83577e5ba1630d401fa74ec0779f50d40ac78857
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 67 of 85

Subject: Ideas & Inventions Wanted

From: Davison <newsletter@rumorfox.com>

To: Joshua Lapin <ketosoup97@gmail.com>

Date Sent: Saturday, July 3, 2021 1:40:43 AM GMT+03:00
Date Received: Saturday, July 3, 2021 1:52:17 AM GMT+03:00

Turn Your Idea into a Product - 100% Confidential

 

 

O1L LAMP CANDLE INCANDESCENT GAS LIGHTING INCANDESCENT SCREW-IN LED
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By definition, evolution is the process of gradual and continuous change or development. In many
respects the same can be said for inventing. All inventions are not brand new ideas. Many new products
evolve from one model to another; advancing their design, capabilities and function.

At Davison, our Inventing Method Is applied to helping products and Ideas evolve. If you have a
new or product improvement idea, we'd like to speak with you about it. We build ideas into products and
present them to corporations. Our products have sold in Lowe's, Bed Bath & Beyond, Crate & Barrel, Jo-

Ann Fabrics, Walmart and over 1,000 more.

DAVISON

MAKING IDEAS

 

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At Davison, our Inventing Method is applied to helping products and ideas evolve. If
you have a new or product improvement idea, we'd like to speak with you about it.
We build ideas into products and present them to corporations. Our products have sold
in Lowe's, Bed Bath & Beyond, Crate & Barrel, Jo-Ann Fabrics, Walmart and over 1,000
more.

If you would no longer like to receive advertisement from us, click here

Or write to: | 595 Alpha Drive Pittsburgh, PA 15238

Case ID: 230200202

Doc ID: 83577e5ba1630d401fa74ec0779f50d40ac78857
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 68 of 85

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Update your preferences or Unsubscribe

Case ID: 230200202

Doc ID: 83577e5ba1630d401 fa74ec0779f50d40ac78857
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 69 of 85

 

FIRST JUDICIAL DISTRICT OF PENNSYLVANIA dna Us Bete \by the

 

Plaintiff:

Joshua Lapin

Defendants:

Nutrisystem Inc

Davison Design & Development Inc

Renown Holdings Inc

Case No. 230200202

NOTICE TO DEFEND

NOTICE

You have been sued in court. If you wish to defend against the
claims set forth in the following pages, you must take action within
twenty (20) days after this complaint and notice are served, by
entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims
set forth against you. You are warned that if you fail to do so the
case may proceed without you and a judgment may be entered
against you by the court without further notice for any money
claimed in the complaint of for any other claim or relief requested
by the plaintiff. You may lose money or property or other rights
important to you.

You should take this paper to your lawyer at once. If you do not have
a lawyer or cannot afford one, go to or telephone the office set forth
below to find out where you can get legal help.

Philadelphia Bar Association
Lawyer Referral
and Information Service
One Reading Center
Philadelphia, Pennsylvania 19107
(215) 238-6333
TTY (215) 451-6197

10-284

AVISO

Le han demandado a usted en la corte. Si usted quiere
defenderse de estas demandas expuestas en las paginas
siguientes, usted tiene veinte (20) dias de plazo al partir de
la fecha de la demanda y la notificacion. Hace falta
ascentar una comparencia escrita 0 en persona 0 con un
abogado y entregar a la corte en forma escrita sus
defensas 0 sus objeciones a las demandas en contra de su
persona. Sea avisado que si usted no se defiende, la corte
tomara medidas y puede continuar la demanda en contra
suya sin previo aviso o notificacion. Ademas, la corte
puede decider a favor del demandante y requiere que
usted cumpla con todas las provisiones de esta demanda.
Usted puede perder dinero o sus propiedades u otros
derechos importantes para usted.

Lleve esta demanda a un abogado immediatamente. Si no
tiene abogado o si no tiene el dinero suficiente de pagar tal
servicio. Vaya en persona o llame por telefono a la oficina
cuya direccion se encuentra escrita abajo para averiguar
donde se puede conseguir asistencia legal.

Asociacion De Licenciados
De Filadelfia
Servicio De Referencia E
Informacion Legal
One Reading Center
Filadelfia, Pennsylvania 19107
(215) 238-6333
TTY (215) 451-6197

Case ID: 230200202
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Exhibit “2”

4895-7207-1769 v.1 078023/01500, 5:17 PM, 04/03/2023
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 71 of 85

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o 7

 

 

USTED ESTA ORDENADO COMPARECER EN Arbitration Hearing 1880 JFK Blvd. 5th fl. at 09:15 AM - 12AXWRORE FOR WRIT OF SUMMONS
You must still comply with the notice below. USTED TODAVIA DEBE CUJPLIR CON EL AVISO PARA DEFENDERSE.

This matter will be heard by a Board of Arbitrators at the time, date and place specified but, if one or more parties i
at the hearing, the matter may be heard at the same time and alt before a judge of the court without the alge 8

There is no right to a trial denovo on ap@iaiiiiiioitie wea lth bf mnisplbanta, 4 And 4 abs

COLINTY_ OE DUTT ADETDUTA_

not present

   
   

 

 

Joshua Lapin Trial Division

 

 

401 E 8th St STE 214 PMB 7452 TERM, 20
Sioux Falls SD 57103

 

NO.

 

Plaintiff(s) Name(s) & Address(es)

VS

Nutrisystem, Inc Address: Nutrisystem, Inc C/O Corporation Service Company 2595 Interstate Dr #103, Harrisburg, PA 17110

 

Davison Design & Development, Inc 595 alpha Dr Pittsburgh, PA 15238-2911

 

Renown Holdings Inc 1165 National Pike Uniontown, PA 15401

 

 

Defendant(s) Name(s) & Address(es)

PRAECIPE FOR WRIT OF SUMMONS

TO THE OFFICE OF JUDICIAL RECORDS:

Kindly issue a Writ of Summons in the above captioned civil action.

DocuSigned by:

02/1/23 JOSHUA L LAPIN

Date: C443437C44A04F5...

Signature of Attorney or Plaintiff(s)

Joshua Lapin

 

Print Name

401 E 8th St STE 214 PMB 7452
Address

 

Sioux Falls SD 57103

 

(714) 654-8886
Phone Number

 

Case ID: 230200202
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 72 of 85

Summons
Citacion

Commontwealth of Pennsylbanta

 

COUNTY OF PHILADELPHIA
Joshua Lapin COURT OF COMMON PLEAS
Plaintiff .
Term, 20
trisystem Inc YS:
Nutrisy : No.

Davison Design & Development Inc

Renown Holdings Inc
Defendant

To!

Nutrisystem Inc
Davison Design & Development Inc
Renown Holdings Inc

 

 

Writ of Summons

You are notified that the Plaintiff
Usted esta avisado que el demandante

Joshua Lapin

 

 

Has (have) commenced an action against you.
Ha (han) iniciado una accion en contra suya.

 

ERIC FEDER uy
Director, Office of Judicial i seh

 
    

 

10-208 (Rev. 6/14

 

i Case ID: 230200202

 

Name(s) of Defendant(s)
2 Name(s) of Plaintiff(s)
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 73 of 85

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Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 74 of 85

Exhibit “3”

4895-7207-1769 v.1 078023/01500, 5:17 PM, 04/03/2023
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 75 of 85

 
   
 

Office ipe

\s
17 FE

IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY,
COMMONWEALTH OF PENNSYLVANIA

JOSHUA LAPIN, CIVIL DIVISION

Plaintiff,
No. 230200202

Vv.

NUTRISYSTEM, INC; DAVISON PRAECIPE FOR RULE TO FILE
DESIGN & DEVELOPMENT, INC.; and COMPLAINT
RENOWN HOLDINGS, INC.,

Defendants.
Code:

Filed on Behalf of:
Defendant Renown Holdings, Inc.

Counsel of record for this party:

Ronald L. Hicks, Jr., Esq.
PA ID #49520
rhicks@porterwright.com

PORTER WRIGHT MorRRIS & ARTHUR LLP
6 PPG Place, Third Floor

Pittsburgh, PA 15222

(412) 235.4500

Case ID: 230200202
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 76 of 85

IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY,
COMMONWEALTH OF PENNSYLVANIA

JOSHUA LAPIN, ) CIVIL DIVISION
Plaintiff,
V. 5 No. 230200202
NUTRISYSTEM, INC; et al.,
Defendants. ;

PRAECIPE FOR RULE TO FILE COMPLAINT
TO THE OFFICE OF JUDICIAL RECORDS:
Pursuant to Pennsylvania Rule of Civil Procedure 1037(a), kindly issue a rule upon

Plaintiff to file a complaint in the above captioned civil action.
Respectfully Submitted,

Dated: February 17, 2023 /s/ Ronald L. Hicks, Jr.
Ronald L. Hicks, Jr. (PA ID #49520)
rhicks@porterwright.com
PORTER WRIGHT Morris & ARTHUR LLP
6 PPG Place, Third Floor
Pittsburgh, PA 15222
412-235-4500

Attorneys for Defendant
Renown Holdings, Inc.

Case ID: 230200202
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 77 of 85

IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY,
COMMONWEALTH OF PENNSYLVANIA

JOSHUA LAPIN, ) CIVIL DIVISION
Plaintiff, )
v. No. 230200202
NUTRISYSTEM, INC; e¢ al.,
Defendants.

RULE TO FILE COMPLAINT

TO: Plaintiff, Joshua Lapin
AND NOW, this day of February, 2023, a Rule is hereby granted upon Plaintiff to
file a Complaint herein within twenty (20) days after service hereof or suffer the entry of Judgment

of Non Pros.

 

Office of Judicial Records

     
 

   

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Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 78 of 85

CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing PRAECIPE was served via electronic
mail and First Class Mail, postage prepaid, on this 17" day of February 2023, to:

Joshua Lapin
401 E. 8" St., Suite 214 PMB 7452
Sioux Falls, SD 57103
thehebrewhammerjosh@gmail.com

/s/ Ronald L. Hicks, Jr.

Ronald L. Hicks, Jr. (PA ID #49520)
rhicks@porterwright.com

PORTER WRIGHT MorRIs & ARTHUR LLP
6 PPG Place, Third Floor

Pittsburgh, PA 15222

412-235-4500

Attorneys for Defendant
Renown Holdings, Inc.

22079827 Case ID: 230200202
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CERTIFICATE OF COMPLIANCE
I certify this filing complies with the Public Access Policy of the Unified Judicial System
of Pennsylvania: Case Records of the Appellate and Trial Courts that require filing confidential
information and documents differently than non-confidential information and documents.
Dated: February 17, 2023 /s/ Ronald L. Hicks, Jr.

Ronald L. Hicks, Jr. (PA ID #49520)
rhicks@porterwright.com

 

PORTER WRIGHT MorRIS & ARTHUR LLP
6 PPG Place, Third Floor

Pittsburgh, PA 15222

412-235-4500

Attorneys for Defendant
Renown Holdings, Inc.

22079827

Case ID: 230200202
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 80 of 85

Exhibit “4”

4895-7207-1769 v.1 078023/01500, 5:17 PM, 04/03/2023
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OF V7 | im Bloled <=) AV es ox 21-1— Civil Docket Report

A $5 Convenience fee will be added to the transaction at checkout.

   

Case Description

Case ID: 230200202
Case Caption: LAPIN VS NUTRISYSTEM INC ETAL
Filing Date: | Wednesday, February 01st, 2023

Court: ARBITRATION

Location: CITY HALL

Jury: NON JURY

Case Type: PERSONAL INJURY - OTHER

Status: ARBITRATION HEARING SCHEDULED

Related Cases
No related cases were found.

Case Event Schedule

 

 

Event Date/Time Room Location Judge
ARBITRATION 05-DEC-2023 || ARBITRATION 1880 JFK BLVD 5TH unassigned
HEARING 09:15 AM CENTER FLOOR

 

 

 

 

 

 

 

Case motions
No case motions were found.

Case Parties

 

 

 

 

 

 

 

 

Expn
Seq # Assoc Date Type Name
1 PRO SE FILER LAPIN, JOSHUAA
Address: | 401 E 8TH ST Aliases: | none
STE 214 PMB 7452
SIOUX FALLS SD 57103
(714)654-8886
2 1 PLAINTIFF LAPIN, JOSHUAA
Address: || 401 E 8TH ST Aliases: | none
STE 214 PMB 7452
SIOUX FALLS
SIOUX FALLS SD 57103

 

 

 

 

 

 

 

 
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 82 of 85

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3 DEFENDANT NUTRISYSTEM INC
Address: || 2595 INTERSTATE DRIVE Aliases: | NUTRISYSTEM
#103
HARRISBURG PA 17110
4 DEFENDANT DAVISON DESIGN &
DEVELOPMENT INC
Address: | 585 ALPHA DR Aliases: || DAVISON
PITTSBURGH PA 1523
5 7 DEFENDANT RENOWN HOLDINGS
INC
Address: | 1165 NATIONAL PIKE Aliases: | RENOWN HOLDINGS
UNIONTOWN PA 15401
6 MOTION JACQUINTO,
ASSIGMENT CARMELLA
JUDGE
Address: | Stout Center Aliases: || none
1205
PHILADELPHIA PA 19107
(215)683-7032
7 ATTORNEY FOR |}HICKS JR, RONALD L
DEFENDANT
Address: || NELSON MULLINS Aliases: | none
6 PPG PLACE, SUITE 700
PITTSBURGH PA 15222
(412)730-3092
ronald.hicks@nelsonmullins.com
Docket Entries
Filing Docket Type Filing Part Disposition Amount
Date/Time y y
01-FEB-2023 || ACTIVE CASE
02:11 PM
Docket | E-Filing Number: 2302000836
ntry:
01-FEB-2023 | COMMENCEMENT OF CIVIL | LAPIN, JOSHUAA |

 

 
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02:11 PM ACTION |
Documents: || Final Cover
Docket
Entry: none.
01-FEB-2023 |}, PRAE TO ISSUE WRIT OF LAPIN, JOSHUAA
02:11 PM SUMMONS
Documents: || Complete_with DocuSign Praecipe-for-Writ-of-.pdf
Docket || PRAECIPE TO ISSUE WRIT OF SUMMONS FILED. WRIT OF SUMMONS
Entry: | ISSUED.
02-FEB-2023 || ARBITRATION HEARING
09:16 AM SCHEDULED
Docket | SCHEDULED FOR ARBITRATION HEARING ON DECEMBER 5, 2023, AT 09:15
Entry: | AM AT THE ARBITRATION CENTER, 1880 JFK BLVD 5TH FLOOR.
17-FEB-2023 | ENTRY OF APPEARANCE HICKS JR,
10:22 AM RONALD L
Documents: | Entry of Appearance.pdf
Docket | ENTRY OF APPEARANCE OF RONALD L HICKS FILED. (FILED ON BEHALF OF
Entry: | RENOWN HOLDINGS INC)
17-FEB-2023 ||RULE TO FILE COMPLAINT HICKS JR,
01:15 PM RONALD L
Documents: || Praecipe for Rule to File Complaint - Renown Holdings Lapin.pdf
Docket PRAECIPE AND RULE FILED UPON JOSHUAA LAPIN TO FILE A COMPLAINT
Entry: WITHIN TWENTY (20) DAYS OR SUFFER JUDGMENT OF NON PROS FILED.
ry: (FILED ON BEHALF OF RENOWN HOLDINGS INC)
21-FEB-2023 | OBJECTIONS FILED HICKS JR,
02:23 PM RONALD L
Documents: | Objections to Subpoenas Pursuant to Rule 4009.21 pdf
Docket | OBJECTIONS TO SUBPOENA PURSUANT TO RULE 4009.21 FILED. (FILED ON
Entry: || BEHALF OF RENOWN HOLDINGS INC)
19-MAR-2023 || COMPLAINT FILED NOTICE GIVEN’ |} LAPIN, JOSHUAA

04:37 PM

 

 

 

 

 

 

 
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Documents: || PA Case Original Complaint With Exhibits Signed.pdf
Notice-to-Defend-10-284.pdf

 

 

COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS AFTER
Docket || SERVICE INACCORDANCE WITH RULE 1018.1 FILED. (FILED ON BEHALF OF

Entry: || JOSHUAA LAPIN) ENTRY OF APPEARANCE FILED ON BEHALF OF JOSHUAA
LAPIN.

 

 

 

> Case Description > Related Cases > Event Schedule > Case Parties > Docket Entries

 

E-Filing System | Search Home lI Return to Results

 
Case 2:23-cv-01343-PD Document1 Filed 04/07/23 Page 85 of 85

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing NOTICE was served via electronic
mail and First Class Mail, postage prepaid, on this 7 day of April 2023, to:

Joshua Lapin
401 E. 8" St., Suite 214 PMB 7452
Sioux Falls, SD 57103
thehebrewhammerjosh@gmail.com

/s/ Ronald L. Hicks, Jr.

Ronald L. Hicks, Jr. (PA ID #49520)
ronald.hicks@nelsonmullins.com

NELSON MULLINS RILEY & SCARBOROUGH LLP
Six PPG Place, Suite 700

Pittsburgh, PA 15222

(412) 730-4050

Attorneys for Defendant
Renown Holdings, Inc.

4895-7207-1769 v.1 078023/01500, 10:07 AM, 04/07/2023
